          Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 1 of 6




                            In the United States District Court
                                          for the
                                 Western District of Texas
DAVID ALVAREZ, ET AL.                            §
                                                 §
v.                                               §
                                                 §      SA-11-CV-179-XR
AMB-TRANS INC., ET AL.                           §


                                             ORDER

       On this day came on to be considered Plaintiffs’ motion for attorneys’ fees (docket no.

87). The motion is granted in part and denied in part as follows:

       In this case the Court, after conducting a bench trial, found that Defendants violated the

Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. The Court found that Plaintiff Alvarez

suffered actual unpaid wages in the amount of $35,157.10, Plaintiff Gleed suffered actual unpaid

wages in the amount of $14,787.80, and Plaintiff Crist suffered actual unpaid wages in the

amount of $5,343.70. Plaintiffs were also awarded liquidated damages in an amount equal to the

unpaid wages. Accordingly, all three Plaintiffs received a total award of $110,577.20.

       Counsel for Plaintiffs has now filed an affidavit seeking attorneys’ fees in the amount of

$88,117.50. In their motion, Plaintiffs request that the Court adjust the lodestar upward by

twenty-five percent because of the “Defendants [sic] insubordinate intent to require that this case

be forced to trial” and refusal to “engage in any effective or good faith settlement negotiations.”

                                                 Analysis

       The relevant provision of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 216(b),

provides that the “court in such action shall, in addition to any judgment awarded to the plaintiff

or plaintiffs, allow a reasonable attorney's fee to be paid by the defendant.” The language of the

statute thus mandates that the Court award attorney's fees to the prevailing party, but gives the
               Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 2 of 6




Court discretion in deciding what is reasonable. Defendants do not dispute that Plaintiffs are

prevailing parties.

           The computation of reasonable attorneys' fees involves a three step process: (1)

determine the nature and extent of the services provided by Plaintiff's counsel; (2) set a value on

those services according to the customary fee and quality of the legal work; and (3) adjust the

compensation on the basis of the other Johnson factors that may be of significance in the

particular case. Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir.

1974); Copper Liquor, Inc. v. Adolph Coors Co., 684 F.2d 1087, 1092 (5th Cir. 1982). Steps one

and two result in a computation of the “lodestar” amount. Both the hours worked and the hourly

rate must be reasonable, and the Court considers only the hours spent on the successful claims.

See Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983). In the final step, the lodestar is adjusted

on the basis of the other factors enumerated in Johnson. That is, once the basic fee is calculated,

the Court may adjust the amount upward or downward. This adjustment is made by applying the

factors identified in Johnson. Rarely are all factors applicable, however, and a trial judge may

give them different weights. Id.

           In their motion and the supporting affidavit, Plaintiffs seek recovery of attorneys’ fees as

follows:

           Lead Attorney Glenn D. Levy                   $385/hour         205.5 hours   $79,117.50

           Support Attorney Larry Gee                    $300/hour         30 hours      $9,000

           Paralegal Adriana Lozano                      $75/hour          4.7 hours     $01

           Defendants respond that Plaintiffs’ counsel’s time entries include “very little detail.” In

addition, they argue that Plaintiffs’ counsel failed to exercise “billing judgment” and has

improperly included time for numerous entries where the work was not performed. In addition,
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    Apparently, Plaintiffs are foregoing any recovery of paralegal fees.
                                                             2
           Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 3 of 6




Defendants argue that counsel improperly included time for electronically filing documents with

the court, a clerical task. Defendants also argue that the rates requested are excessive for the San

Antonio area and should be closer to “$200 or $325 per hour.”

        Each of the Johnson factors has been considered by the Court and evaluated and weighed

in light of the entire record in this case. The factors have also been weighed in light of this

Court's experience in this type of litigation.

        The Court finds that the requested amount is somewhat excessive. Portions of the time

record summaries submitted by counsel are nonspecific and thus unacceptable. See Leroy v. City

of Houston, 831 F.2d 576, 585 (5th Cir.), cert. denied, 486 U.S. 1008 (1988) (stating that billing

records that are scanty or lack explanatory detail are unacceptable). As a result, the Court

considers and makes findings concerning each of the Johnson factors as follows:

        A. The time and labor involved.

        Having examined the time records and affidavits submitted by counsel, the Court finds

that the hours of attorney time purportedly expended in this case are not within the range of

reasonableness for the tasks performed in connection with this litigation.           As noted by

Defendants’ counsel there were a number of time entries for work not performed or for clerical

tasks. Further, this was a relatively simple case of whether or not the Plaintiffs were properly

paid overtime pursuant to the FLSA.

        B. The novelty and difficulty of the questions.

        The factual and legal issues in this case were neither difficult nor unusual especially

given that Plaintiffs’ counsel is board certified in the area of labor and employment law. This

case did not present any novel or difficult questions which counsel should not have anticipated in

preparing for trial.


                                                 3
             Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 4 of 6




          C. The skill requisite to perform the legal service properly.

          The Court finds that counsel were adequately skilled and otherwise qualified to pursue

this case.

          D. The preclusion of other employment by the attorneys due to acceptance of this case.

          This was not a complex case and should not have caused counsel to limit the number of

cases counsel could handle at any given time. The case did not involve a demanding area of the

law and if counsel chose to spend a considerable amount of time on this case to the exclusion of

others, it was a choice, not necessitated by the nature of the case.

          E. The customary fee.

          The court finds that the hourly rates submitted by counsel appear to be higher than the

customary fee for the San Antonio area.

          The Court further takes judicial notice that the State Bar of Texas Department of

Research and Analysis compiles an Annual Hourly Rate Report detailing attorney hourly rates

by years in practice, location and type of practice. 2         Based on the latest report available

(analyzing rates charged during 2011), the Court finds that in 2011, the median rate for attorneys

of experience such as Mr. Levy and Mr. Gee was $268 per hour. The Court finds that an hourly

rate of $268 represents a reasonable and customary hourly rate. The Court notes that with regard

to paralegal hourly rates, the State Bar of Texas Legal Assistant Division has surveyed its

membership, and the median hourly rate for a paralegal has been found to be $107. 3 Although

Plaintiffs referenced Ms. Lozano’s $75 rate, they have requested no paralegal fees.




2
 http://www.texasbar.com/Content/NavigationMenu/AboutUs/ResearchandAnalysis/DemographicEconomicTrends/
default.htm
3
    Id.
                                                    4
            Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 5 of 6




        F. Whether the fee is fixed or contingent (The Risk Factor).

        Neither party provided the Court with a copy of any agreement between Plaintiffs and

their counsel. Nevertheless, a “district court is not bound by ... the agreement of [counsel with

his client] as to the amount of attorneys' fees.” Copper Liquor, Inc. v. Adolph Coors Co., 684

F.2d at 1089.       Furthermore, allotting an enhancement for a contingency factor has been

criticized. Id. at 1097 n. 30. The complexity and difficulty of the issues in this case were not

substantial. Despite Plaintiffs’ assertion that FLSA cases are “undesirable” to many attorneys,

this case was brought under the FLSA where the burden of complying with various regulations

fall on the employer. See Docket number 51. The risks undertaken and successfully met by

counsel for Plaintiffs were not so enormous as to justify an upward adjustment of the lodestar

amount.     In addition, Plaintiffs’ argument that Defendants should somehow be financially

punished for trying this case is rejected. Given the differences of opinion regarding the number

of hours actually worked by Plaintiffs, Defendants were entitled to a trial. Indeed, they were

entitled to a trial on the merits, notwithstanding their failure to appreciate the exacting burden of

wage and hour regulations applicable to their business.

        Based on the foregoing, the Court finds that a reasonable award for attorneys’ fees is as

follows:

        Lead Attorney Glenn D. Levy                  $268/hour         205.5 hours4 $79,117.50

        Support Attorney Larry Gee                   $268/hour         30 hours         $9,000




4
  In their motion and the supporting affidavit, Plaintiffs seek 205.5 hours for Attorney Levy. After deducting
numerous hours for incorrect or excessive time entries, the Court’s calculation indicates that reasonable hours for
Levy equal 230.3 hours. However, inasmuch as Levy only seeks recovery for 205.5 hours, the award will be limited
to the initial request.
                                                         5
          Case 5:11-cv-00179-XR Document 89 Filed 03/04/13 Page 6 of 6




                                               Conclusion

       Plaintiffs’ motion for attorneys’ fees (docket no. 87) is granted in part and denied in part.

Plaintiffs are awarded attorneys’ fees of $88,117.50.       Plaintiffs submitted no bill of costs.

Accordingly, recovery of court costs is waived.

       SIGNED this 4th day of March, 2013.




                                             XAVIER RODRIGUEZ
                                             UNITED STATES DISTRICT JUDGE




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